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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                       :
                                               :
                                               :       Criminal Case: 1:20-cr-38 (RDM/GMH)
           v.                                  :
                                               :
                                               :
ROGER HEDGPETH II,                             :
                                               :
                                               :
                       Defendant.              :

                                   Government’s Status Update

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, hereby submits this status update.

       On March 13, 2020, the Court granted the government’s motion to commit the defendant

to the custody of the Attorney General for a competency examination pursuant to 18 U.S.C. §§

4241 and 4247. The Court also ordered the government to submit status updates ten days from the

entry of its order, and every subsequent ten days thereafter until the defendant arrives at the facility

where the examination will take place. See ECF No. 13 at 2-3.

       In accordance with the Court’s order requiring status updates, the government hereby

notifies the Court that the defendant has been designated to Federal Medical Center Lexington,

and that the defendant is currently in transit from the D.C. Jail to that location. Government

counsel does not at this point have an estimated arrival date at FMC Lexington.




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The government will provide a further update on or before April 3, 2020.

                                            Respectfully submitted,

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                                            D.C. Bar Number 437437

                                            By:     /s/ Erik M. Kenerson_
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